                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:11-cr-73
 v.                                                   )
                                                      )       COLLIER / LEE
 GUY DYLAN JACKSON                                    )

                                             ORDER

        On March 2, 2012, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count

 One of the twenty-one-count Indictment; (2) accept Defendant’s plea of guilty to Count One; (3)

 adjudicate Defendant guilty of the charges in Count One of the Indictment; (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter (Court File No. 179). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 179) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the charges in Count One is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges in Count One;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and

        (5)     Defendant SHALL REMAIN in custody until sentencing in this matter which is



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            scheduled to take place on Thursday, June 21, 2012 at 9:00 a.m. before the

            Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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